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·1· · · · · · ·IN THE UNITED STATES DISTRICT COURT
·2· · · · · · · · ·FOR THE DISTRICT OF COLORADO
·3· · · · · · · ·CIVIL ACTION NO. 20-CV-01936-STV
·4
·5· · ·TIMOTHY JAMES COATES, GENE CLAPS, MARK MITCHELL, AND
·6· · · · · · · · · · · · KEVIN CURRIER,
·7· · · · · · · · · · · · · Plaintiffs
·8
·9· · · · · · · · · · · · · · · V.
10
11· · · ·THE ADAMS COUNTY SHERIFF'S OFFICE, A GOVERNMENTAL
12· · · ENTITY, RICHARD A. REIGENBORN, IN HIS OFFICIAL AND
13· · · · · · · · · · ·INDIVIDUAL CAPACITY,
14· · · · · · · · · · · · · Defendants
15
16
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18
19
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21
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23· ·DEPONENT:· MARK TOTH
24· ·DATE:· · · SEPTEMBER 9, 2021
25· ·REPORTER:· DELANEY CALEAU




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·1· · · · A· · No.· No.· To -- in order to get a car titled,
·2· ·you have to have a VIN inspection.· A lot people that
·3· ·buy cars -- used cars, are -- they rebuild cars -- junk
·4· ·cars.· You buy a new car.· Before you can pass it, you
·5· ·have to have a VIN inspection.· You have to go to class
·6· ·to do that because you have to know where the engine
·7· ·numbers are, where all the VIN numbers are.· I don't
·8· ·really know, and I don't care.· So I hired him to do it
·9· ·because he had that experience and training.
10· · · · Q· · Did he ever tell you kind of you know, what
11· ·changes he wanted to maybe make at the ACSO if he were
12· ·elected for sheriff?
13· · · · A· · The only comment he ever made to me before he
14· ·was elected was that if he won, he would go in there and
15· ·clean house.
16· · · · Q· · I'm sorry, I didn't hear you.
17· · · · A· · The only comment he made to me before he got
18· ·elected was that if he won, he would go in there and
19· ·clean house.
20· · · · Q· · Clean house.· Do you know what he meant by
21· ·that, Sheriff Reigenborn, when he said that?
22· · · · A· · Nope.· I didn't ask.
23· · · · Q· · And did Sheriff Reigenborn ever discuss with
24· ·you any contrasts or differences with -- Sheriff
25· ·McIntosh was the sheriff at the time when he was running




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·1· · · · Q· · I got you.
·2· · · · A· · Except during SWAT stuff, then he was a direct
·3· ·report to me.
·4· · · · Q· · Uh-huh.· And so, you said you had problems
·5· ·with John Bungartz?
·6· · · · A· · Correct.
·7· · · · Q· · Who was the other commander that you didn't
·8· ·have a problem with originally from the two?
·9· · · · A· · JD Cordova.
10· · · · Q· · Okay, JD Cordova.· And then, what problems did
11· ·you have with John?
12· · · · A· · Failure to obey orders.
13· · · · Q· · Did he get relocated?
14· · · · A· · Yes.
15· · · · Q· · When was that?· After you took office, how
16· ·long after you took office?
17· · · · A· · I don't know.· He probably there -- we
18· ·probably worked together for about seven or eight
19· ·months.
20· · · · Q· · Uh-huh.· And you said there's a lot -- some --
21· ·you know, we talked about once it was settled.· Did you
22· ·have any input into who was, you know, transferred,
23· ·demoted, et cetera, when you came on to work with
24· ·Sheriff Reigenborn?
25· · · · A· · None whatsoever.




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·1· · · · Q· · Did Sheriff Reigenborn discuss any promotions
·2· ·or transfers with you?
·3· · · · A· · Not specifically.· He told us in the chiefs
·4· ·meetings that, you know, these are the moves he was
·5· ·making.
·6· · · · Q· · Uh-huh.
·7· · · · A· · Not specifically with me about any of that.
·8· · · · Q· · Did you ever suggest to Sheriff Reigenborn a
·9· ·transfer or termination?
10· · · · A· · When?· When he was -- when are you talking
11· ·about --
12· · · · Q· · Sure.
13· · · · A· · -- like, the whole time I was there?· Or the
14· ·first two weeks, what --
15· · · · Q· · Yeah.· Fair enough.
16· · · · A· · Can you be more specific, please?
17· · · · Q· · Yeah.· Fair enough.· Let's break it down.· So
18· ·you said there's a lot of changes right when he took
19· ·office, right?
20· · · · A· · Correct.· Correct.
21· · · · Q· · Okay.· Let's talk about that, you know, first
22· ·month or so.
23· · · · A· · Okay.
24· · · · Q· · Did you have any input into demotions,
25· ·promotions, terminations then?




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·1· · · · A· · No.
·2· · · · Q· · Okay.· Did Sheriff Reigenborn discuss with you
·3· ·any of the personnel decisions he had made when he first
·4· ·came onboard and took office?
·5· · · · A· · No.
·6· · · · Q· · Did he ever talk to you about why he let TJ
·7· ·Coates go?
·8· · · · A· · Why he let him go?
·9· · · · Q· · Correct.
10· · · · A· · Not specifically why he let him go, no.
11· · · · Q· · What do you -- did he talk to you generally
12· ·about TJ Coates?
13· · · · A· · He -- he said a few things about TJ, yes.
14· · · · Q· · Okay.· What do you recall about that?
15· · · · A· · One of the things he -- he mentioned, and this
16· ·was in a chiefs meeting, was that he told us about that
17· ·-- up in the investigation division, the investigation
18· ·division chief has an office.· Well in prior
19· ·administration, TJ wanted to separate himself from his
20· ·detectives, so he built a wall.· So he'd be totally
21· ·separate from all of the troops and have no contact with
22· ·them.· I don't know why.· It's just -- it was just a
23· ·weird thing to do.
24· · · · Q· · Uh-huh.
25· · · · A· · He was -- felt that he was above all that even




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·1· ·excuse me, to support the guy that's in office.· I would
·2· ·assume so, if I liked the guy.· I mean -- excuse me.· If
·3· ·he's running the department the way he wants it, he
·4· ·would support it.
·5· · · · Q· · Uh-huh.
·6· · · · A· · I guess in an election that makes sense to me,
·7· ·but I've never done that.· I've never been there.             I
·8· ·have no idea.
·9· · · · Q· · Uh-huh.· Do you think, you know, political
10· ·party affiliation matters for the success or performance
11· ·of division chief position?
12· · · · A· · Explain what you mean by political party.
13· · · · Q· · Sure.
14· · · · A· · Democratic or Republican or...
15· · · · Q· · Right.· Democrat or Republican.
16· · · · A· · To be successful as a division chief?
17· · · · Q· · Right.
18· · · · A· · It should make no difference.
19· · · · Q· · Okay.
20· · · · A· · I mean, the sheriff's a Democrat or
21· ·Republican.· He still hired me.
22· · · · Q· · Uh-huh.· Now you're --
23· · · · A· · Political affiliation?· Who cares?
24· · · · Q· · Uh-huh.
25· · · · A· · That was never a matter of why I was going to




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·1· ·get hired.· He hired me for my experience, I'm assuming.
·2· · · · Q· · Uh-huh.
·3· · · · A· · He knew what I told you as far as my
·4· ·experience.· I told him about it before.· I hired him.
·5· ·He knows where I came from, what I am, who I am, what I
·6· ·do, my time investment here, so...
·7· · · · Q· · So it wasn't relevant?
·8· · · · A· · Pardon me?
·9· · · · Q· · It wasn't relevant?
10· · · · A· · No, not at all.· Not at all.
11· · · · Q· · And, you know, did Sheriff Reigenborn ever ask
12· ·you about your personal political beliefs or leanings?
13· · · · A· · No, no.
14· · · · Q· · Do you think it matters for the success of,
15· ·you know --
16· · · · A· · You know, when are you talking?· Before he got
17· ·hired or after he got hired?· Or after I got hired, I'm
18· ·sorry.
19· · · · Q· · Sure.· Let's go with before.
20· · · · A· · No.· Because like I said, I remain out of
21· ·that.· It was a position I was in.
22· · · · Q· · How about after?· Did he ever asked you about
23· ·your political beliefs or affiliation after you were
24· ·hired?
25· · · · A· · No.




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·1· · · · Q· · Did you think that would be important for a
·2· ·division chief position?
·3· · · · A· · Oh, I'm sure it wasn't when he hired me.
·4· · · · Q· · Okay.
·5· · · · A· · He never said that was any of the reasons why
·6· ·he took me when I was a deputy.
·7· · · · Q· · Yeah, I'm going to ask about your termination
·8· ·in a little bit.· But I'm going to ask the same thing
·9· ·about commanders.· So, commanders are next in the
10· ·organizational structural hierarchy, okay?
11· · · · A· · Got you.
12· · · · Q· · Did you ever ask any of the commanders under
13· ·you if they had supported Sheriff Reigenborn or not?
14· · · · A· · No.
15· · · · Q· · Do you think it mattered if they did or did
16· ·not?
17· · · · A· · Matter to who?
18· · · · Q· · To the successful performance of their jobs.
19· · · · A· · Not that I was aware.· I mean, nobody ever
20· ·said anything -- "This commander, we're going to take
21· ·him because of his political ideas."
22· · · · Q· · Uh-huh.
23· · · · A· · It was never a topic of discussion.
24· · · · Q· · Uh-huh.
25· · · · A· · So the answer would be no.




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·1· ·the reason he did.· I don't surmise him.
·2· · · · Q· · Right, I was going to say I don't -- I want to
·3· ·know what you know, not what you're guessing.· Did he
·4· ·actually have a conversation with you about why he
·5· ·rescinded the policies?
·6· · · · A· · No.· Not that I can recall.
·7· · · · Q· · Okay.· And you said that the lawyers all
·8· ·review the policies before they're implemented at the
·9· ·ACSO?
10· · · · A· · It'd be my understanding.· I'm not in that
11· ·position to, but again, I know it from my previous
12· ·experience that they all go through legal to make sure
13· ·that they're legal, I guess.· So my answer to that is
14· ·yes, they are all reviewed in the process.
15· · · · Q· · Do you know if the policies found in Exhibit
16· ·29 were reviewed before?
17· · · · A· · I have no idea.
18· · · · Q· · And you said -- I'm just trying to figure out
19· ·what you said.· You said you looked at the old policies
20· ·after they were rescinded as guidance?
21· · · · A· · As guidance.· I mean if I needed to.· Like I
22· ·said I looked at the stuff that was related to patrol to
23· ·see what was the policy stated you can do because these
24· ·guys weren't doing anything.· They were just answering
25· ·calls.· I said, well, what can we do in this division?




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·1· ·Can we change?· Yes.· Can we stop in shifts?· Can we do
·2· ·this, can we do that?· Yes, yes, yes.· Are we doing it?
·3· ·No.· Why not?· Because they're afraid to do it because
·4· ·they get in trouble.· That's all.· That's kind of things
·5· ·that -- I stuck strictly with patrol procedures that
·6· ·affected my division.· Not policies with the agency,
·7· ·none of that stuff.· What I do affects the agency, don't
·8· ·get me wrong.· But my specific focus and function and
·9· ·what I was told was take care of patrol, so that's where
10· ·I put all of my focus.
11· · · · Q· · How about discipline, did you look at the old
12· ·policies until the new ones were implemented?
13· · · · A· · If I needed to, but I can't.· I don't know if
14· ·I ever -- what's the time if I ever had a question about
15· ·policies and discipline and just had to do that?            I
16· ·called one of the IA sergeants and said, "Hey, look. H
17· ·Here's what I got.· What do you guys do?· Have you guys
18· ·been here forever?· I don't know."· And they would walk
19· ·me through what they was.
20· · · · Q· · Uh-huh And you had the power to discipline as
21· ·the division chief?
22· · · · A· · Yes.
23· · · · Q· · And how often do you use it?
24· · · · A· · In what timeframe?· Because it makes a
25· ·difference.· Well, not really, but I have sit on a --




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